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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                v.

 INTERNET RESEARCH AGENCY, LLC,                   Crim. No. 18-32 (DLF)
 et al.

                Defendants.



                 JOINT MOTION FOR INTERIM PROTECTIVE ORDER

       The United States of America, by and through Special Counsel Robert S. Mueller, III, and

defendant Concord Management and Consulting LLC (“Concord Management”), respectfully

move for an interim protective order pursuant to Fed. R. Crim. P. 16(d), and 18 U.S.C. § 3771(a).

A copy of a proposed interim protective order is attached.


                                                Respectfully submitted,

                                                ROBERT S. MUELLER, III
                                                Special Counsel

Dated: June 15, 2018                     By:     /s/ L. Rush Atkinson
                                                Jeannie S. Rhee
                                                L. Rush Atkinson
                                                Ryan K. Dickey
                                                U.S. Department of Justice
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                                                950 Pennsylvania Avenue NW
                                                Washington, DC 20530

                                                Attorneys for the United States of America

                                                CONCORD MANAGEMENT AND
                                                CONSULTING LLC
                                                By Counsel

                                         By:      /s/ Eric A. Dubelier
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